             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 1 of 20



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )
                                                   )    Civil Action No. 19-cv-3098
 TWENTY-FOUR CRYPTOCURRENCY                        )
 ACCOUNTS                                          )
                                                   )
                Defendants.                        )
                                                   )
                                                   )

                 VERIFIED COMPLAINT FOR FORFEITURE IN REM

       COMES NOW, Plaintiff the United States of America, by and through the United States

Attorney for the District of Columbia, and brings this Verified Complaint for Forfeiture in Rem

against the defendant properties, namely: twenty-four cryptocurrency accounts (the “Defendant

Properties”), which are listed in Attachment A. The United States alleges as follows in accordance

with Rule G(2) of the Federal Rules of Civil Procedure, Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions:

                              THE DEFENDANT PROPERTIES

       1.      The Defendant Properties are comprised of miscellaneous financial instruments

(listed in Attachment A). The Defendant Properties are in the possession of the United States.

                NATURE OF ACTION AND THE DEFENDANTS IN REM

       2.      This in rem forfeiture action arises out of an investigation by the Internal Revenue

Service – Criminal Investigation’s Cyber Crimes Unit (“IRS-CI”) and Homeland Security

Investigations (“HSI”) into a child pornography website called Welcome To Video.                 Co-

conspirator users of Welcome To Video have knowingly and willfully conspired with others and
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 2 of 20



acted individually to: launder monetary instruments, in violation of 18 U.S.C §1956(a)(2) and (h);

receive or distribute any visual depiction which contains materials depicting a minor engaging in

sexually explicit conduct, which have been mailed or shipped or transported by computer in

violation of 18 U.S.C. § 2252(a)(2) and (b)(1); possess and access with intent to view a depiction

of a minor engaged in sexually explicit conduct in violation of 18 U.S.C. § 2252(a)(4)(B) and

(b)(2); distribute and be in receipt of child pornography in violation of 18 U.S.C. § 2252A(a)(2)(A)

and (b)(1); and possess and access a device with intent to view child pornography in violation of

18 U.S.C. § 2252A(a)(5)(B) and (b)(2). These individuals laundered the Defendant Properties to

procure content in violation of the above statutes.

        3.      The Defendant Properties are subject to forfeiture pursuant to 18 U.S.C. § 2254, as

property used or intended to be used to commit or to promote the commission of the above

offenses. The Defendant Properties are also subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(A), as property involved in, or traceable to, a financial transaction in violation of 18

U.S.C § 1956.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345 and 1355.

These statutes confer original jurisdiction to district courts of all civil actions, suits, or proceedings

commenced by the United States and any action for the forfeiture of property incurred under any

act of Congress.

        5.      Venue is proper pursuant to 28 U.S.C. § 1355(b)(1)(A) because acts or omissions

giving rise to the forfeiture occurred within the District of Columbia. Venue is also proper

pursuant to 28 U.S.C. § 1395(c) because the Defendant Properties are held in the District of

Columbia.




                                                    2
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 3 of 20



                          FACTS GIVING RISE TO FORFEITURE

I.     Definition of Terms

       6.      Tor is a computer network which anonymizes Internet activity by routing a user’s

communications through a global network of relay computers (or proxies), thus effectively

masking the internet-protocol (“IP”) address of the user. An “IP address” is a unique numeric

address attached to computers on the internet that, when assigned, properly directs internet traffic.

Tor can be accessed by installing freely available Tor software. Tor relays only the IP address of

the last relay computer (the “exit node”), masking the user’s actual IP address. With Tor, users can

operate a special type of website, called a “hidden services” website, which uses web addresses

comprised of 16 algorithm-generated characters followed by the suffix “.onion.” Hidden service

websites have system administrator(s) who oversee their operation.

       7.      Bitcoin (“BTC”) is a type of virtual currency, or “cryptocurrency,” which is

circulated over the Internet. BTC is not issued by a government, bank, or company, but rather is

controlled through computer software. BTC is generally sent and received using a BTC “address,”

which is like a bank account number represented by a case-sensitive string of numbers and letters.

Each address is controlled through the use of a unique private “key,” akin to a password. Users

can operate numerous addresses at a given time, with the option to use a unique address for every

transaction. BTC fluctuates in value. As of March 5, 2018, one BTC was worth approximately

$11,573.00. Typically, users purchase BTC from a BTC virtual-currency exchange, a business that

allows customers to trade virtual currencies for conventional money (e.g., U.S. dollars, euros, etc.).

Though little to no personally identifiable information about the sender or recipient is transmitted

in a BTC transaction itself, virtual currency exchanges are required by U.S. law to collect

customers’ identifying information and verify their clients’ identities. BTC can be sent to another

address by a user via a transaction announcement, signed with their key. Once verified, the


                                                  3
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 4 of 20



transaction is added to the “blockchain,” a decentralized, public ledger that logs every BTC

transaction. Blockchain analysis can reveal whether multiple BTC addresses are controlled by the

same individual or entity, and allow the identification of BTC addresses that are involved in

transacting with the same addresses.

       8.      The Defendant Properties include U.S. Dollars, BTC, and other forms of

cryptocurrency (e.g., Litecoin (LTC), Ethereum (ETH), Dogecoin (DOGE), Bitcoin Cash (BCH),

etc.). These other forms of cryptocurrency exist and operate in a manner similar to BTC, and just

like BTC, fluctuate in value over the course of time.

II.    Welcome To Video Website

       9.      Welcome To Video was a Tor network-based child-pornography website, which

began operating at least in or about June 2015. Welcome To Video hosted and distributed image

and video files depicting child pornography. The upload page on Welcome To Video stated: “Do

not upload adult porn [emphasis added by the website].”

       10.     On or about February 8, 2018, Welcome To Video indicated on its download page

details that its users had downloaded files from Welcome To Video more than a million times.

       11.     On or about March 5, 2018, Welcome To Video’s server had over 200,000 unique

video files, which totaled approximately eight terabytes of data. As files were uploaded by users,

Welcome To Video compared the video’s hash to previously uploaded videos to prevent the

duplication of videos. Each video had a title, a description (if included by the uploader), “tags”

with further descriptions of the video, and a preview thumbnail image that contained

approximately sixteen unique still images from the video.

       12.     The video search page of Welcome To Video listed keyword search terms and the

number of videos associated with each keyword. On or about February 8, 2018, some of the top




                                                4
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 5 of 20



keyword search terms and the associated approximate videos included “PTHC,” “PEDO,”

“%2yo,” “%4yo,” and “incest.”

               a.      “PTHC” is an abbreviation for “preteen hardcore.”

               b.      “Pedo” is an abbreviation for “pedophile.”

               c.      “%2yo” is an abbreviation for “2 year old.”

               d.      “%4yo” is an abbreviation for “4 year old.”

       13.     To accesses the site, customers created a free account on Welcome To Video by

creating a username and password, but supplied no other identifiable information such as an email

address. Once a customer had an account, they could browse picture previews of videos depicting

child pornography that were available for download.

       14.     In order to download videos from Welcome To Video, customers redeemed

“points.” Points could be obtained by: (1) uploading videos depicting child pornography;

(2) referring new customers to Welcome To Video; (3) paying 0.03 BTC (approximately $352.59

as of March 5, 2018) for a “VIP” account, which lasted for six months and purportedly allowed

unlimited downloads; and/or (4) paying for points incrementally (i.e., 0.02 bitcoin for 230 points).

Points were not transferable to any other website or application. Once BTC were sent to Welcome

To Video, they could not be refunded or redirected. Points obtained by the payment of BTC could

only be used for downloading videos. Once a user uploaded videos depicting child pornography

to Welcome To Video, the uploader was unable to delete the video. However, the administrator

retained access to these videos and all BTC accumulated by Welcome To Video.

       15.     Welcome To Video directed customers to particular BTC exchanges to make

payments, including an exchange in the United States. Welcome To Video assigned a unique BTC




                                                 5
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 6 of 20



address for each Welcome To Video customer account to receive payments and assign points

appropriately. There were over 1.3 million BTC addresses set up by Welcome To Video.

       16.     Law enforcement gathered a list of thousands of unique BTC addresses associated

with Welcome To Video. This list included an undercover agent’s BTC address which Welcome

To Video assigned to the undercover agent when the undercover agent created an account on

Welcome To Video.

       17.     From in or about June 2015 to on or about March 8, 2018, Welcome To Video

received at least 420 BTC through at least 7,300 transactions worth over $370,000.00 at the time

of the respective transactions. Transactions originated in numerous countries, including the United

States, the United Kingdom, and South Korea.

       18.     On multiple occasions, an agent acting in an undercover capacity paid BTC to

Welcome To Video and used the website to download child pornography video files while in

Washington, D.C. These child pornography video files included pre-pubescent children, infants,

and toddlers engaged in sexually explicit conduct. Specifically, those video files contained the

following:

               a.      File name                                                              with

       the video tag description                     depicted a child, approximately ten years old,

       and an adult male inserting his penis into the child’s mouth and anus. Welcome To Video

       customers downloaded this video 957 times;

               b.      File name            with the video tag description

                    depicted a female child approximately three years old. The child is nude and

       bound with her legs spread apart so that her genitalia is visible. An adult male urinates on

       her. Welcome To Video customers downloaded this video 219 times;




                                                6
             Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 7 of 20



              c.      File name                             with the video tag description

                depicted a female toddler, approximately two or three years old. An adult male

       inserted his penis inside of the anus of the female toddler. Welcome To Video customers

       downloaded this video 369 times;

              d.      File name                        with the video tag description

                                depicted an infant, approximately six months old. An adult male

       inserted his penis inside the mouth and anus of the infant. Welcome To Video customers

       downloaded this video 113 times;

              e.      File name                             with the video tag description

              depicted a male child, approximately ten years old. An adult male inserted his penis

       into the child’s mouth and anus while in a shower. Welcome To Video customers

       downloaded this video three times; and

              f.      Finally, file name                     with the video tag description

                          depicted a female child, approximately eight years old. An adult male

       inserted his penis into the child’s anus. Welcome To Video customers downloaded this

       video 69 times.

III.   Events Leading Up to the Seizure of Defendant Properties

       19.    On or about September 1, 2017, law enforcement reviewed the source code of

Welcome To Video’s homepage, which could be viewed by right-clicking on Welcome To Video

in the Tor browser and selecting “View Page Source.” In reviewing the source code, law

enforcement discovered that Welcome To Video had failed to conceal its server’s IP address. This

IP address resolved to a telecommunications provider in South Korea.           Subsequently the




                                                7
              Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 8 of 20



investigation confirmed that this IP address was registered in the name of Jong Woo Son and that

the address serviced his residence in South Korea.

        20.    On February 28, 2018, a federal magistrate judge in the United States District Court

for the District of Columbia issued an arrest warrant for Jong Woo Son.

        21.    On or about March 5, 2018, South Korean law enforcement executed a search

warrant at the residence of Jong Woo Son in South Korea. Pursuant to the search, South Korean

law enforcement seized Welcome To Video’s server and associated electronic storage media from

the bedroom of Jong Woo Son. U.S. law enforcement subsequently received a forensic image of

the Welcome To Video server.

        22.    A review of the imaged data confirmed that Welcome To Video was hosted on the

seized server. A review of a sample of the video files further corroborated that Welcome To Video

was dedicated to the distribution of child pornography. The customer data generally identified

which customer was associated with which BTC payment to Welcome To Video. A review of a

sample of the payments to Welcome To Video cross-referenced against the username and

download data from the server revealed that payments to Welcome To Video corresponded with

the user downloading videos from Welcome To Video. A review of the forensic image of the

server further revealed that certain Welcome to Video co-conspirators uploaded illicit content to

the site.

        23.    On August 8, 2018, a federal grand jury in the District of Columbia indicted Jong

Woo Son on various counts, including Conspiracy to Distribute Child Pornography, in violation

of Title 18, United States Code, Sections 2252(a)(2) and (b)(1). See 1:18-mj-00243 (DAF)

(Sealed).




                                                8
              Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 9 of 20



IV.    The Defendant Properties

       24.      Analyzing the blockchain revealed BTC addresses that laundered BTC to Welcome

To Video from accounts hosted at BTC Exchange 1, BTC Exchange 2, and BTC Exchange 3,

(collectively, the “BTC Exchanges”). The BTC Exchanges are all cryptocurrency exchanges

offering services to customers worldwide include storing cryptocurrency in online “wallets.”

       25.      Based on the investigation as described above, law enforcement discovered the

below accounts at the BTC Exchanges, which comprise the Defendant Properties.                  Law

enforcement previously seized these twenty-four accounts pursuant to a judicially-authorized

seizure warrant.

       a) BTC Exchange 1

             1. BTC Exchange 1 account 5185e2c6b3bd3de60e00002a – From approximately
                August 16, 2015 to July 9, 2016, this account laundered BTC nine times to a BTC
                address controlled by Welcome to Video totaling approximately 0.91 BTC.
                User data obtained from the forensic image of the server revealed the above
                listed BTC payments were linked to Welcome To Video username “gat0rs,” who
                downloaded at least 219 videos from Welcome To Video. Further, blockchain
                analysis revealed that this account also laundered BTC to darknet markets,
                including Agora, AlphaBay, Evolution, and Silk Road, which sold drugs,
                stolen information, and other illicit products.

             2. BTC Exchange 1 account 5652a83e6f4be24bf9000110 – On or about February 5,
                2018, this account laundered approximately 0.01035562 BTC to a BTC address
                controlled by Welcome To Video. User data obtained from the forensic image of
                the server revealed the above listed BTC payment was linked to Welcome To Video
                username “jaclist2010,” who downloaded at least nine videos from Welcome To
                Video.

             3. BTC Exchange 1 account 559715bd61373556e00000ae – On or about July 10,
                2015, this account laundered approximately 0.10 BTC to a BTC address controlled



                                                  9
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 10 of 20



   by Welcome To Video. The BTC transaction had a memo of “UserName: loki354.”
   User data obtained from the forensic image of the server revealed the above listed
   BTC payment was linked to Welcome To Video username “loki354,” who
   downloaded at least six videos from Welcome To Video.

4. BTC Exchange 1 account 58760323ee243500a3067f85 – On or about August 25,
   2017, and September 6, 2017, this account laundered two payments to a BTC
   address controlled by Welcome To Video totaling approximately 0.02203612 BTC.
   User data obtained from the forensic image of the server revealed the above listed
   BTC payments were linked to Welcome To Video username “poopman420k,” who
   downloaded at least 205 videos from Welcome To Video.

5. BTC Exchange 1 account 56454cd5399d4a00f00001ae – On or about November
   13, 2015 this account laundered approximately 0.25 BTC to a BTC address
   controlled by Welcome To Video. User data obtained from the forensic image of
   the server revealed the above listed BTC payment was linked to Welcome To Video
   username “mg2005,” who downloaded at least four videos from Welcome To
   Video, and uploaded at least one video, which had the title of
                      to Welcome To Video.

6. BTC Exchange 1 account 524c41b07f435f428400005a – On or about October 20,
   2015, this account laundered approximately 0.18 BTC to a BTC address controlled
   by Welcome To Video. User data obtained from the forensic image of the server
   revealed the above listed BTC payment was linked to Welcome To Video username
   “jor1092,” who downloaded an approximate total of 52,592.7 MBs worth of videos
   (the maximum for a six month VIP account – which allowed another user to
   download approximately 676 videos) from Welcome To Video.                 Further,
   blockchain analysis revealed that this account also laundered BTC to darknet
   markets, including Agora and Evolution, which sold drugs, stolen information, and
   other illicit products.

7. BTC Exchange 1 account 563443739ac69f3b29000170 – On or about December
   9, 2015, this account laundered approximately 0.10 BTC to a BTC address
   controlled by Welcome To Video. User data obtained from the forensic image of


                                   10
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 11 of 20



   the server revealed the above listed BTC payment was linked to Welcome To Video
   username “franky77,” who downloaded an approximate total of 52,592.7 MB
   worth of videos (the maximum for a six month VIP account – which allowed
   another user to download approximately 676 videos) from Welcome To Video.
   Further, blockchain analysis revealed that this account also laundered BTC to
   darknet markets, including Hansa and AlphaBay, which sold drugs, stolen
   information, and other illicit products.

8. BTC Exchange 1 account 5a4fab5fd24e170544892941 – On or about January 21,
   2018, this account laundered approximately 0.00133308 BTC to a BTC address
   controlled by Welcome To Video. User data obtained from the forensic image of
   the server revealed the above listed BTC payment was linked to Welcome To Video
   username “insipity,” who downloaded at least 98 videos from Welcome To Video.

9. BTC Exchange 1 account 5676f8ba7d98e545080000b8 – On or about September
   3, 2017 and November 23, 2017, this account laundered two payments to a BTC
   address controlled by Welcome To Video totaling approximately 0.04141252 BTC.
   User data obtained from the forensic image of the server revealed the above listed
   BTC payments were linked to Welcome To Video username “qtnvomaz,” who
   downloaded at least 310 videos from Welcome To Video.
10. BTC Exchange 1 account 5687df5a4b12f73aa50000c0 – On or about February 6,
   2017, and August 13, 2017, this account laundered two payments to a BTC address
   controlled by Welcome To Video totaling approximately 0.24049414 BTC. One
   of the BTC transactions had a memo of “I forgot my user pass so signed up again.
   desinnude [sic] Welcome1.” That is, the account owner was indicating that he
   forgot his password for his account on Welcome To Video. User data obtained
   from the forensic image of the server revealed the above listed BTC payments were
   linked to Welcome To Video username “desinude.” This account also laundered
   approximately 1.05 BTC on or about January 8, 2016 to a second BTC address
   controlled by Welcome To Video. User data obtained from the forensic image of
   the server revealed the second BTC address was linked to Welcome To Video
   username “winkit,” who downloaded at least 113 videos from Welcome To Video.



                                     11
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 12 of 20



11. BTC Exchange 1 account 55f1718c2289a067b50001fa – On or about September
   18, 2015, this account laundered two payments to a BTC address controlled by
   Welcome To Video totaling approximately 0.34 BTC. User data obtained from the
   forensic image of the server revealed the above listed BTC payments were linked
   to Welcome To Video username “asd8973,” who downloaded an approximate total
   of 52,592.7 MBs worth of videos (the maximum for a six month VIP account –
   which allowed another user to download approximately 676 videos) from Welcome
   To Video.

12. BTC Exchange 1 account 55a4403965373100d7000165 – On or about July 18,
   2015, this account laundered approximately 0.29 BTC to a BTC address controlled
   by Welcome To Video. The BTC transaction had the memo of “VIP for thalaw plz
   and thanks.” User data obtained from the forensic image of the server revealed the
   above listed BTC payment was linked to Welcome To Video username “thalaw,”
   who purchased a six month VIP account (a six month VIP account allowed another
   user to download approximately 676 videos). Further, blockchain analysis revealed
   that this account also laundered BTC to darknet markets, including Agora, that sold
   drugs, stolen information, and other illicit products.

13. BTC Exchange 1 account 566a1a4495c0be0d1c000230 – On or about April 18,
   2016, this account laundered approximately 0.02 BTC to a BTC address controlled
   by Welcome To Video. User data obtained from the forensic image of the server
   revealed the above listed BTC payment was linked to Welcome To Video username
   “m8te666.” This user also appeared on other known darknet and illicit sites which
   offered money laundering services and child pornography content.

14. BTC Exchange 1 account 55f974c78cc94d4d4b000244 – On or about September
   18, 2015, this account laundered an approximate total of 0.45 BTC to a BTC
   address controlled by Welcome To Video. The BTC transaction had a memo that
   stated “0 BTC (X) user blinder.” User data obtained from the forensic image of the
   server revealed the above listed BTC payment was linked to Welcome To Video
   username “blinder,” who downloaded an approximate total of 52,592.7 MB worth




                                     12
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 13 of 20



   of videos (the maximum for a six month VIP account – which allowed another user
   to download approximately 676 videos) from Welcome To Video.
15. BTC Exchange 1 account 531e0828ead59cce4a000264 – Between October 11,
   2015, and April 30, 2016, this account laundered four payments to four BTC
   addresses controlled by Welcome To Video totaling approximately 0.66 BTC. User
   data obtained from the forensic image of the server revealed the above listed BTC
   payments were linked to Welcome To Video usernames “freepdc,” “detnews,”
   “lucytai,” and “freepdc4.”      Users “freepdc” and “detnews” downloaded an
   approximate total of 52,592.7 MB worth of videos (the maximum for a six month
   VIP account – which allowed another user to download approximately 676 videos)
   from Welcome To Video. On or about October 23, 2017, law enforcement seized
   the account owner’s electronic media. On or about the morning of October 25,
   2017, the account owner committed suicide at his Washington, D.C. residence. A
   search of the account owner’s media revealed numerous files depicting child
   pornography. Further, blockchain analysis revealed that the BTC account also
   laundered BTC to darknet markets, including Agora and Dream, which sold drugs,
   stolen information, and other illicit products.
16. BTC Exchange 1 account 583c85d54d3af20217519752 – Between November 28,
   2016, and April 26, 2017, this account laundered three payments to a BTC address
   controlled by Welcome To Video totaling approximately 0.13049720 BTC. User
   data obtained from the forensic image of the server revealed the above listed BTC
   payments were linked to Welcome To Video username “karmacowboy,” who
   downloaded at least 78 videos from Welcome To Video.
17. BTC Exchange 1 account 558ac736316131095b0001a4 – Between July 20, 2015,
   and May 22, 2017, this account laundered 13 payments to a BTC address controlled
   by Welcome To Video totaling approximately 1.12 BTC. User data obtained from
   the forensic image of the server revealed the above listed BTC payments were
   linked to Welcome To Video username “trincaps2,” who downloaded at least 676
   videos (with an approximate total size of 52,592.7 MB worth of videos, which was
   the maximum for a six month VIP account) from Welcome To Video.




                                     13
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 14 of 20



      a. On June 15, 2018, law enforcement executed a search warrant of the
          account owner’s residence in relation to this investigation. The search
          revealed child pornography located on the account owner’s electronic
          devices. The account owner was subsequently arrested on an indictment
          charging possession and receipt of child pornography.
18. BTC Exchange 1 account 573808d68fdf8333f300002a – On or about May 21,
   2016, this account laundered approximately 0.090 BTC to a BTC address controlled
   by Welcome To Video. The BTC transaction had the memo of “I am user
   gregorystill.” User data obtained from the forensic image of the server revealed the
   above listed BTC payment was linked to Welcome To Video username
   “gregorystill.” Other transaction memos for payments from this account included
   “suscripcopm [sic] naughty” and “I [sic] buy a 1 month suscription [sic].”
      a. This account also laundered 0.012 BTC with the memo “it is the buy for
          you” to a cluster of BTC addresses which then laundered BTC to Welcome
          To Video. The recipient of this payment previously sent BTC to the account
          “pteen,” (which is an abbreviation for “preteen”) at Welcome To Video.
      b. This BTC cluster sold child pornography, based on a review of other
          payments to this clustered address.      Specifically, the cluster received
          approximately 141 transactions during approximately two months. The
          cluster received payments from several exchanges, most of which then went
          to a bitcoin mixing service. Mixing services are companies, often on the
          darkweb, that mix all the payments received from numerous users together
          in order to conceal where the money comes from and where it goes.
      c. In summary the account owner opened his BTC Exchange 1 account on or
          about May 14, 2016, funded the account over the next few days then only
          sent four payments, one directly to Welcome To Video and three to a cluster
          that subsequently laundered BTC to Welcome To Video.
19. BTC Exchange 1 account 56d3b1cc9f49041768000086 – On or about December
   6, 2016, and January 29, 2017, this account laundered two payments to a BTC
   address controlled by Welcome To Video totaling approximately 0.090 BTC. User
   data obtained from the forensic image of the server revealed the above listed BTC



                                    14
   Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 15 of 20



     payments were linked to Welcome To Video username “hamburger,” who
     downloaded at least 130 videos from Welcome To Video.
         a. On August 16, 2018, law enforcement executed a search warrant at the
            account owner’s residence in relation to this investigation and located child
            pornography on his electronic devices.

b) BTC Exchange 2

   1. BTC Exchange 2 account Francoca.87 – On or about May 27, 2017, this account
      laundered approximately 0.020 BTC to a BTC address controlled by Welcome To
      Video. User data obtained from the forensic image of the server revealed the above
      listed BTC payment was linked to Welcome To Video username “fsdfds465456,”
      who downloaded at least 15 videos from Welcome To Video.

   2. BTC Exchange 2 account ihackgeek did not have a registered name or associated
      email address. The account had a phone number with an Eastern European country
      code and the IP log showed consistent access from Eastern Europe, namely
      Ukraine and Russia. The account only had one BTC transaction. On or about May
      27, 2017, this account laundered approximately 0.0116 BTC to a BTC address
      controlled by Welcome To Video. User data obtained from the forensic image of
      the server revealed the above listed BTC payment was linked to Welcome To
      Video username “ihackgeek,” who downloaded at least 87 videos with an
      approximate total size of 9,286.5 MBs.

   3. BTC Exchange 2 account Um2541 did not have a registered name but had an
      associated email address and logins from IP addresses exclusively from South
      Korea. On or about August 31, 2017, this account laundered approximately 0.010
      BTC to a BTC address controlled by Welcome To Video. User data obtained from
      the forensic image of the server revealed the above listed BTC payment was linked
      to Welcome To Video username “um2525,” who downloaded at least 81 videos
      from Welcome To Video.

            a. The account owner subsequently asked law enforcement “if you stopped
                my account because I received a video on Deep Web.”




                                     15
   Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 16 of 20



c) BTC Exchange 3

  1. BTC Exchange 3 account longhorn1 had no registered name, but had an associated
     email address and a phone number with an Austin, Texas area code. On or about
     April 26, 2016, this account laundered approximately 0.1808 BTC to a BTC address
     controlled by Welcome To Video. User data obtained from the forensic image of
     the server revealed the above listed BTC payment was linked to Welcome To Video
     username “mexman16.”

         a. This account also laundered 0.05 BTC to the same cluster of BTC addresses
            that laundered BTC to the account “pteen” at Welcome To Video.

         b. This account also laundered 0.2508 BTC to a cluster of BTC address that
            sent approximately 0.48643035 BTC in 10 transactions to Welcome To
            Video.      This second cluster sent a substantial portion of funds
            (approximately 1,000 BTC) to a darknet mixing service that openly
            advertises that it launders funds for anyone that wants to conceal their illicit
            payments.

  2. BTC Exchange 3 account culboy2012 had no registered name, but had an
     associated email address. On or about November 12, 2015, this account was
     created, funded in under 30 minutes, and within two hours the user laundered
     approximately 0.1308 BTC to a BTC address controlled by Welcome To Video.
     The account was never logged into again. User data obtained from the forensic
     image of the server revealed the above listed BTC payment was linked to
     Welcome To Video username “billvssharon.”




                                      16
              Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 17 of 20




                                  FIRST CLAIM FOR RELIEF
                                       (18 U.S.C. § 2254)

        26.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 25 above as if fully set forth herein.

        27.     The Defendant Properties were property, real or personal, used or intended to be

used to commit or to promote the commission of a violation of 18 U.S.C. §§ 2252 and 2252A,

and/or property traceable to such property

                                 SECOND CLAIM FOR RELIEF
                                   (18 U.S.C. § 981(A)(1)(A))

        28.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 25 above as if fully set forth herein.

        29.     The Defendant Properties were involved in a conspiracy to launder and the

laundering of monetary instruments intended to promote the carrying on of a specified unlawful

activity, that is, 18 U.S.C. § 2252 and 18 U.S.C. § 2252A (relating to child pornography) where

the child pornography contains a visual depiction of an actual minor engaging in sexually explicit

conduct.

        30.     As such, the Defendant Properties are subject to forfeiture, pursuant to Title 18,

United States Code, Section 981(a)(1)(A), as property involved in a transaction or attempted

transaction in violation of 18 U.S.C. § 1956, or property traceable to such property.

                                      PRAYER FOR RELIEF

        WHEREFORE, the United States of America prays that notice issue on the Defendant

Properties as described above; that due notice be given to all parties to appear and show cause why

the forfeiture should not be decreed; that a warrant of arrest in rem issue according to law; that

judgment be entered declaring that the Defendant Properties be forfeited for disposition according



                                                17
            Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 18 of 20



to law; and that the United States of America be granted such other relief as this Court may deem

just and proper, together with the costs and disbursements of this action.


Dated: October 16, 2019

                                              Respectfully submitted,

                                              JESSIE K. LIU, D.C. Bar No. 472845
                                              United States Attorney

                                      By:            /s/
                                              ZIA M. FARUQUI, D.C. Bar No. 494990
                                              Lindsay Suttenberg, D.C. Bar No. 978513
                                              Youli Lee, D.C. Bar No. 4064028
                                              Assistant United States Attorneys
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-7117 (Faruqui)

                                                     /s/
                                              C. ALDEN PELKER
                                              Trial Attorney
                                              Computer Crime & Intellectual Property Section
                                              1301 New York Ave NW
                                              Washington, D.C. 20005
                                              (202) 514-1026

                                              Attorneys for the United States of America




                                                18
            Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 19 of 20



                                       VERIFICATION

       I, Christopher Janczewski, a Special Agent with the Internal Revenue Service, declare

under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing Verified Complaint for

Forfeiture In Rem is based upon reports and information known to me and/or furnished to me by

other law enforcement representatives and that everything represented herein is true and correct.


Executed on this __16th___ day of October, 2019.



___/s/________________
Christopher Janczewski
Special Agent
Internal Revenue Service




                                               19
Case 1:19-cv-03098 Document 1 Filed 10/16/19 Page 20 of 20



                       Attachment A




                            20
                          Case 1:19-cv-03098 Document 1-1 Filed 10/16/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 5/12 DC)
I. (a) PLAINTIFFS                                                                DEFENDANTS
United States of America                                                        TWENTY-FOUR CRYPTOCURRENCY ACCOUNTS



(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                         ATTORNEYS (IF KNOWN)

Zia Faruqui, Assistant U.S. Attorney
U.S. Attorney's Office for the District of Columbia
555 Fourth Street, N.W.
Washington, D.C. 20530
II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
    (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                          PTF    DFT                              PTF                                     DFT
o    1 U.S. Government       o   3 Federal Question
       Plaintiff                  (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                     of Business in This State
o    2 U.S. Government       o   4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal             o5 o5
       Defendant                   (Indicate Citizenship of
                                                                                                                     Place of Business in This State
                                   Parties in item III)            Citizen or Subject of a
                                                                   Foreign Country
                                                                                                o3 o3                Foreign Nation                         o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
o    A. Antitrust        o   B. Personal Injury/                       o     C. Administrative Agency                         o     D. Temporary Restraining
                                Malpractice                                     Review                                                 Order/Preliminary
     410 Antirust                                                                                                                      Injunction
                             310 Airplane                                    151 Medicare Act
                             315 Airplane Product Liability                                                                   Any nature of suit from any category
                             320 Assault, Libel & Slander              Social Security
                                                                                                                              may be selected for this category of case
                                                                            861 HIA (1395ff)
                             330 Federal Employers Liability                                                                  assignment.
                                                                            862 Black Lung (923)
                             340 Marine
                                                                            863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                             345 Marine Product Liability
                                                                            864 SSID Title XVI
                             350 Motor Vehicle
                                                                            865 RSI (405(g))
                             355 Motor Vehicle Product Liability
                                                                       Other Statutes
                             360 Other Personal Injury
                                                                            891 Agricultural Acts
                             362 Medical Malpractice
                                                                            893 Environmental Matters
                             365 Product Liability
                                                                            890 Other Statutory Actions (If
                             367 Health Care/Pharmaceutical
                                                                                Administrative Agency is
                                 Personal Injury Product Liability
                                                                                Involved)
                             368 Asbestos Product Liability


o    E. General Civil (Other)                                 OR             o     F. Pro Se General Civil
Real Property                         Bankruptcy                                   Forfeiture/Penalty
     210 Land Condemnation                422 Appeal 27 USC 158                         625 Drug Related Seizure of                   480 Consumer Credit
     220 Foreclosure                      423 Withdrawal 28 USC 157                         Property 21 USC 881                       490 Cable/Satellite TV
     230 Rent, Lease & Ejectment                                                        690 Other                                     850 Securities/Commodities/
     240 Torts to Land                Prisoner Petitions                                                                                  Exchange
     245 Tort Product Liability            535 Death Penalty                                                                          896 Arbitration
     290 All Other Real Property           540 Mandamus & Other                    Other Statutes                                     899 Administrative Procedure
                                           550 Civil Rights                            375 False Claims Act                               Act/Review or Appeal of
Personal Property                          555 Prison Conditions                       400 State Reapportionment                          Agency Decision
    370 Other Fraud                        560 Civil Detainee – Conditions             430 Banks & Banking                            950 Constitutionality of State
    371 Truth in Lending                       of Confinement                          450 Commerce/ICC                                   Statutes
    380 Other Personal Property                                                            Rates/etc.                                 890 Other Statutory Actions
         Damage                       Property Rights                                  460 Deportation                                    (if not administrative agency
    385 Property Damage                   820 Copyrights                               462 Naturalization                                 review or Privacy Act)
         Product Liability                830 Patent                                       Application
                                          840 Trademark                                465 Other Immigration
                                                                                           Actions
                                      Federal Tax Suits                                470 Racketeer Influenced
                                          870 Taxes (US plaintiff or
                                                                                           & Corrupt Organization
                                               defendant)
                                          871 IRS-Third Party 26 USC 7609
                             Case 1:19-cv-03098 Document 1-1 Filed 10/16/19 Page 2 of 2
o    G. Habeas Corpus/                      o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
        2255                                       Discrimination
     530 Habeas Corpus – General                   442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
     510 Motion/Vacate Sentence                        (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
     463 Habeas Corpus – Alien                         national origin,                              (if Privacy Act)                             (excluding veterans)
         Detainee                                      discrimination, disability, age,
                                                       religion, retaliation)

                                            *(If pro se, select this deck)*                 *(If pro se, select this deck)*

o    K. Labor/ERISA                         o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
        (non-employment)                              (non-employment)                                                                        Court
                                                                                                 110 Insurance
     710 Fair Labor Standards Act                  441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
     720 Labor/Mgmt. Relations                         Act)                                      130 Miller Act                                   (if Voting Rights Act)
     740 Labor Railway Act                         443 Housing/Accommodations                    140 Negotiable Instrument
     751 Family and Medical                        440 Other Civil Rights                        150 Recovery of Overpayment
         Leave Act                                 445 Americans w/Disabilities –                    & Enforcement of
     790 Other Labor Litigation                        Employment                                    Judgment
     791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                       Other                                         of Veteran’s Benefits
                                                   448 Education                                 160 Stockholder’s Suits
                                                                                                 190 Other Contracts
                                                                                                 195 Contract Product Liability
                                                                                                 196 Franchise


V. ORIGIN
o 1 Original         o 2 Remand           o 3 Remanded from o 4 Reinstated or o 5 Transferred from o 6 Multi-district o 7 Appeal to
      Proceeding           from State            Appellate Court              Reopened             another district              Litigation             District Judge
                           Court                                                                   (specify)                                            from Mag. Judge


VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
18 U.S.C. § 2254, 18 U.S. C. § 981(a)(1)(C), and 18 U.S.C. § 1956

VII. REQUESTED IN                         CHECK IF THIS IS A CLASS             DEMAND $                                       Check YES only if demanded in complaint
                                          ACTION UNDER F.R.C.P. 23                                                            YES               NO
     COMPLAINT                                                                     JURY DEMAND:

VIII. RELATED CASE(S)                     (See instruction)                                                                   If yes, please complete related case form
                                                                               YES                     NO
      IF ANY
           10/16/2019
DATE: _________________________                                                                      /s/Zia Faruqui
                                               SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should endure the accuracy of the information provided prior to signing the form.
              Case 1:19-cv-03098 Document 1-2 Filed 10/16/19 Page 1 of 1
                                            CLERK'S OFFICE                                                    CO-931
                                     UNITED STATES DISTRICT COURT                                            New 3/78

                      NOTICE OF DESIGNATION OF PENDING* RELATED CRIMINAL
                        CASE PURSUANT TO RULE 3-4, UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF COLUMBIA


                                                                         Criminal Number:
                                                                         (To be supplied by the Clerk)


NOTICE TO PROSECUTOR:

         Pursuant to LCrR 57.12(a)(1) of this Court's Rules, you should prepare this form and submit it to the
Clerk's Office along with the indictments in any related cases. One copy is needed for the Clerk's records, once for
the Judge to whom the case is assigned, and one additional copy for each defendant. Therefore, in a one defendant
case you should submit 3 copies, for a two defendant case you should submit 4 copies, etc. The Clerk will mail
copies of this form to all defense counsel along with the arraignment notice.

NOTICE TO DEFENDANT:

         Rule LCrR 57.12(b)(1) of this Court's Rules requires that any objection by the defendant to the related case
designation shall be served on the U. S. Attorney and filed with the Clerk within 10 days after arraignment.

NOTICE TO ALL COUNSEL:

         Rule LCrR 57.12(b)(3) requires, in part, that as soon as an attorney for a party becomes aware of the
existence of a related case or cases, such attorney shall immediately notify in writing, the Judges on whose calendars
the cases appear and shall serve such notice on counsel for all other parties.



The prosecutor will please complete the following:

1.   Name of defendant: JONG WOO SON
2.   Number of related case: 18-cr-0243

3.   Name of Judge assigned to related case: Dabney L. Friedrich

4.   Name of United States Court in which the related case is pending (if other than this Court:)



5.   Relationship of new case to related case:         Common Parties

     [Check appropriate box(es)]

                  [ ]     (a)   New case is a superseding information.

                  [     ] (b)   More than one indictment is filed or pending against defendant.

                  [ ]     (c)   Prosecution against different defendant(s) arises from:

                                [   ] a common wiretap

                                [   ] a common search warrant

                                [ ] activities which are a part of the same alleged criminal event or transaction

         (*) A case is considered pending until a defendant has been sentenced. [Rule 3-4(a)(1)]
